, ,__ CaSe 2:16-CV-00816-CCC-.]BC Document1 234-1 Filed 04/08/19 Page 1 of 50 Page|D: 5422

SUPERIOR COURT O_F NEW JERSEY _
APPELLATE` DIVISION
DOCKET NO. A-000011-17T2

 

‘MICHAEL A. D'ANTONIO
PLAINTIFF-APPELLANT
vs
RETAINED REALTY ,
NETWORK TRUCKING,

BERGEN COUNTY SHERIFF‘S - -
DEPARTMENT,PATRICIA EGAN

DEEENDANTs-RESPONDENTS

CIVIL ACTION
ON APPEAL FROM

SUPERIOR COURT, LAW DIVISION

SAT BELOW

HONORABLE ESTELLA DE LA CRUZ
DOCKET NO. BER- L -4562-;15`

 

APPELLANT REPLY BRtEF

 

.\Xb.»l_

MICHAEL A. D'ANTONIO
APPELLANT
P.O.~BOX 55
ALLENDALE, NJ 07401
201-962-5881 CELL
201-857~4411 FAX

v MAD.316@HOTMAIL.COM

'EXl-hB-\T "3) " _

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'SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVISION

DOCKET NO. A-000011-17T2

 

4 CERTTFICATION OF SERVICE

I CERTIFY that on this date I served an original and 5 copies of Appellants
Reply Brief on the Clerk of 'the Appellate Division, Superior Court of New Jersey, 25 W.
Market Street, Trenton New Jersey via Federal Express and 2 copies to Richard Epstein
Esq. for Retained Realty 1170 US Highway 2 East, Bridgewater NJ 08807, I:.eonard
Seaman Esq. for Bergen County Sheriff Dept. %Richard Malagiere
250 Moonachie Road-, Moonachie NJ 0-7074, Nadnder Parmar Esq. for Network
Trucking % George- W. Wrig`nt 505 Main Str'eet Hackeiisack i\iJ 07601 and patricia Egan ‘

84 Farley Place Auendale NJ '07401

v.?#zb'-/Z y _ l M£Z@

 

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PROCEDURAL HISTORY

1. The opening statement of Defendant Retained Realty's procedural history '
does not fairly represent the facts of the case and Appellants brief does not
focus on all issues previously heard and determined in the Foreclosure
action. No judgment for $11,600_`.00 was part of the Foreclosure and is of a
primary issue here and is a basis for the reopening of the Foreclosure docket
However, the Note and the Mortgage, specifically, the Surety aspect of the
Note only allows for the property to be SOLD with out any Eviction. Mr.

. Epstein received a Writ of Possession for both houses but only evicted the

l Appellant. Mr. Epstein misapplied and the Judge violated the terms of the

contract.
2. Plaintiff filed this appeal due to Interlocutory Orders and improper
decisions of Judge de La Cruz‘ below. v f ' d
3. Judge de La Cruz inadvertently decided`that the Foreclosure issue could
not be reversed due to the statute of limitation as 2 years time has passed
4. Appellant has submitted copies_of the Real Estate licensing Act Title 45
Chapter 15 OAL and Rules and Regulations Title 11 Chapter 15. This
section of the Adrninistrative Code cleariy, beyond all doubt establishes
certain rights to this Appellant, that the statute to reopen contracts,
mortgages, foreclosures is 6 years and the right for redemption of a party's
horne is 10 years. 4
5. Mr. Epstein does not, nor did not respond to these documents throughout
the entire time this-Appeal was submitted None of the other defendants have

` responded

l l ll |l l l

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6. The illegal actions of the Defendants have casued all personnel involved
with the Foreclosure land Eviction to no longer be employed by the Sheriff
Dept. or the Moving Company Net Work Trucking.

7. Respectfully, Judge Ostrer issued an order limiting Appellant the Right to
argue or appeal the Foreclosure action, which was made part of the case.

8. Judge Ostrer denied Appellant 4a reversal under Motion for

. Reconsideration based upon submission.of this Section of Law. » _

9. Clearly, Judge de La Cruz was unaware of this section of Law and
changes the submission on the reliance of Rule 4:50-1 as.permissible to
reopen the Foreclosure aspect. Judge Cru.z did not make a verbatim record of
'all the proceedings which denies this Appellant the right to properly defend
these issues and reopen the Foreclosure issue. Plaintiff relies on‘Sniadach v
family Finance Corp. Mc Cormack federalism Sect. 1983 Limitations on
Judicial Empowerment of Constitutional protection 60 Val. rev l (1974) c
Antieau Federal Civil Rights Act Civil Practice (1971) 395 U.S. 542 (1964)
Pa table of authorities 21. n

10. In that Mr. Epstein and the Sheriff s Department Violated Due Process
and Equal Protection to this Appellant this provides an additional reason to
grant this application

ll. Mr. Epstein submits RRDa19 an abridged Transcript which the abridged
parts conceal relevant issues to Appellants position. Page 35 of the transcript
clearly is defended by Mr. Epstein and clearly states lam reopening the
Foreclosure_. v j

12. It is now established that the Forec_losure was reopened and that Judge
Cruz denied this issue by her perception of operation of a statute of
limitation, it now becomes Appealable as of Right.

2 .

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13.- If the chain of equity at the time of Foreclosure was limited to a certain
dollar Sum awarded to Emigrant Savin_gs and the contract document by
Operation of LaW is required to be discharged due to a presence of a
~Novation also submitted under Title;l 1 Chapter 15 , and Plaintiff was denied
- this right then this issue also is appealable
14. If the time for obtaining all monies due the Emigrant Savings Co. it
would have been at the time of the Judgment of Foreclosure. In that if a sum
of money was not requested, Emigrant Savings through Mr. Epstein was
barred by Equitable and Collateral estoppel and the doctrine of when you
l settle you settle. l
15. Due to economic status, the Emigrant Savings Co.. decides to transfer the
note to a subsidiary company Retained Realty,l so that Emigrant’s balance
sheet shows no bad debt or uncollected Debt. The note bears a significant
legal caveat, wherein the Emigrant Mortgage Company was only allowed to
sell the property to recover the financial amount loaned on the property and
1 that no occupants were allowed to be evicted. An Appealable issue.
16. Retained Realty held title to appellants horne and Appellants
$640,000.00 of which D'Antonio ldic_l NOT receive at the time of the sale to
Mr. Luo the contract buyer. who i_s an I_n Hou_se buyer to the Banl<.
17. The Borough of Allendale has established an assessed value of
Sl ,340,000.00 at the time of transfer of the deed.
18. Retained Realty a subsidiary of Emigrant Sa-vings received no rights to
uncollected equity or financial losses from unearned interest on the loan.
This Court is in possession of documents which collude to the evidence and
facts that the Foreclosure was improper and illegal. No notice was given to
»D'Antonio, Calm-Development, M&G l-iolding nor its Attorney
3

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Mr. Capazzi, and should be reversed. Retained Realty has no right to sue on
counterclaim equity issues in theappealed docket from below and they are
not an equity defendant they are a holding company for'the Parent company.
19. Equal Pi'otection and Due Process allow this court to reverse the

. limitation on appeal so that the Foreclosure is now appealable If Retained _
Realty can get a judgment against D'Antonio for $11,600.00 personally than
the Foreclosure Was reopened below, as the inception of debt or judgment of
Foreclosure emanates from Emigrant and not Retained Realty and the
1Foreclosure Docl<et only. Appellant had no contract with Retained Realty
niether did Calm Development or M & G I-Iolding.
20. In Mr. Epstein's opposition brief he clearly leaves out definitive issues
favorable to this Appellant and his brief should not be considered based on
material issues of facts not being_included and _S_ummary Judgment.
21. The Foreclosure is requested to be reopened and protected due to the
veracity of crimes committed by Mr. Epstein, Captain Edgars, Ms. Egan and

_ the Bergen County Sheriff‘s Officers Who handled the eviction. l
22. Mr. Epstein paid the regular fee of $1500.00 but also paid $60,000.00 to
secure an illegal Writ of Foreclosure, Writ of Possess_ion and Sheriff‘s Deed.
23. Judge Innes having issued an Order compelling the Sheriff‘s l)epartment
vto return the 360, 000.00 is the fatal evidence against the Banl< through
Epstein for offering and submitting the bribe of $60, 000. 00. How or why

~ Would Judge Innes issue this Order? How did he find this?
24. Under Access to Public records, I-l_ouse Counsel_for the Sheriff‘s
Department refuses to give access to the check registers and or Banl<
Statements reflective of the time periods in question for the $60,000.00 in
question. This is Obstruction of Justice, Em_bezzlement.

_ 4

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25. Page 3 of Mr. Epstein's procedural history"s_tatels that "Qages 5 to 34 of
this transcript have been redacted for purposes vof*abrirl_gir_tglthe transcript
to include onlv the Courts decision starting on page 36:_ _ _` ' w
Mr. Epstein does not want this Appellate court to see that Judge de La Cruz
attempted to hide the amended complaint by stating she did not see it then
gets caught on the record by comparing the two different dates on the
amended and the original complaints pages 5-6.
page 7 reflects that she could not findthe amended complaint and three
attached documents related to the foreclosure _ v
page 8 reflects that Judge Doyne did not turn the recorder on during the
_ Foreclosure hearing where l was made to represent the corporation and was
denied access to a new Attorney due to the death of my former Attorney and
that I requested a-mistrial. l
page 8-9 shows that l could not appeal without a verbatim record.
pages 9-10 prove 1 tried to get.new counsel and that Mr. Carter refused to
submit proofs to stay the Foreclosure and Eviction and Capazzi was
incarcerated for embezzlement d
page 11 discusses Judge Doyne"s` improper conduct, my intention to appeal
but no record was made and the fact that Judge Doyne concealed a Novation '
of the parties_during the hearing and the following day made an 8 page
opinion discussing the Novation which was not on the records the day
before [ Mr. Epstein fears the Novation aspect which negated the essence of
a valid contract in the presence of a foreign entity paying the mortgage for
140 consecutive payments.] Judge de La Cruz references R. 4:50-2 when
Plaintiff entered R.4:50-1 v
page 13 Judge Cruz repeatedly cuts off Appellant on the record
5

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page 14 18-25 advice of Counsel regarding lack of record means we cant
appeal v l

page 15 again references regarding other J_u_dges not making a record, Judge
Toskos and Judge Escalla. Judge Escalla resigned as well as Judge Doyne in
the face of impropriety Mr. Epstein_misrepr_esented the lease aspect of
appellant from 9 years prior to the actual lease in place at the time of the
eviction before Judge Escala. d l

pages 15-16 Epstein admits knowledge of NO transcripts 15- 24,25, 16- 1_-25
17 1-25 `

pages 18, 19, 20 relative to due process and rules of court and ethical
conduct. _

page 21 no hearing mistrial 1-25

page 22 verbatim record reopening the foreclosure action 1-25 plus read
equitable resolution to the bank would have_caused them to have more
money! !l ' l

page 23 Mr. Epstein argues about time and now the statue allows me the
time to regain title and he will not concede, plus get more money for his
" client.- Discovery was incomplete thereby creating material issues of facts

' which would defeat summary judgment

pages 24,25,26,27, 28, 29, 30,‘31, 32,33,34, 35 all relevant fact issues
covering Appellant's case and just cause of this court to grant the appeal.
26. These "redacted "documents clearly indicate the type of attorney Mr.
Epstein is and his intentional act to deceive the court in saying there is no
basis to reopen the foreclosure

27. Letter of Joseph S. Di Maria attesting to the position offered to Mr.
Epstein on behalf of Emigrant Savings and Retained Realty to join Appellant

6

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to collect on a $5. 9 million judgment to satisfy the mortgage and regain title
to the Appellant home _ l

28. The letter of release was signed under coercion and threats by Sargent
Braney and Patricia Egan. The act of coercion negates the legal effect of the
documents, they further refused`me Medical attention and made me urinate
in my pants. _ l

29. Mr.'Epstein Misrepresents the presence of Mr. Scott miller as the agent

t .for Retained Realty. Mr. Epstein certifies that Retained Realty was not

present at the eviction when they were represented by Patricia Egan who
made the Sheriff.- keep my appliances worth $20, 000. 00 from both houses.
30. The release signed for Network trucking was signed prior to the final
moving of my possessions being removed. Once the releases were signed
they threw me off the property With out all of my possessions

Retained Realty has a duty of care in who or what company they hire Non-
English speaking day laborers broke, twisted, damaged art, car parts, stole
my trains, tools, machines Plus'it clearly states some damages will send list
and Judge de La Cruz stated I did not make proof of the damages I even had
the police go to my sons house and his employee's house to prove they did
not have any of the missing items. ' l

30. I sent an e-mail to Mr. Epstein.as a letter of rescission for the
abandonment part of my possessions l sent further e~mails about regaining
,my stolen and or abandoned property from Retained Realty‘s agent and he
denied same to me, see Epstein Certific_ation and enclosures explaining the
dissipation of the security to fix the property.

7

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Cross Statement of Counter Statement of Facts 4

1. Retained Realty was not th_e owner of the property pursuant to the
Sheriff‘s Deed. The Contracted parties in interest where Emigrant Savings
and Calm Development and Michael A. D'Antonio

2. Retained Realty failed to respond to a subpoena dated 8-12-16 for
discovery documents As did all Defendants in this action. Judge de La Cruz
denied discovery and reconsideration Pa 203 a-207a.

3. Retained Realty states by Way of Counsel they had no contract with
Network Trucking, and therefore are directed by Retained Realty and
therefore Retained'Realty is responsible for the consequences of its agent‘s

. actions Retained Realty hired Terry O' Conner- Realty who sent Patricia
Egan to effectuate a coercion against Appellant to have the Sheriff Officers
threaten and take personal property and be thrown off the property unless the
release were signed in advance Upon compliance the Appellant was thrown
'off the property. This constitutes an attendance by Retained Realty when an
agent is present and therefore constitutes liability and responsibility If
Retained Realty is found liable for any wrongful act at Law, they are soley
responsible for the damages incurred, due to the illegal conduct of Mr.
Epstein bribing the Bergen County Sheriffs Departrnent. The Reinoval and
storage of Appellants property are the responsibility of Retained Realty as
they had no written contract with Network Trucking and no contractual
_ disclaimers or insurance protection disclaimers Upon request to.all parties y

Retained Realty,‘Netw'prk Trucking and Richard Epstein, for the location of
storage or dump to get my possessions back I was denied the location. Page
8 of

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counterstatement of facts states that all the property was removed but yet
Network Trucking> had to return to complete the clean out the next day, yet
_ no one from the front house or the neighbors saw anyone present. l

Appellant was threatened and coerced and thereby moots the property
release documents Title 11 Chapter 15. Pa 162a-164a

4. Rents and security were not awarded to Emigrant nor Retained Realty at
" the Judgment of Foreclosure. The surety aspect of the Mortgage and Note Pa
232a-240a states that the sole remedy in the presence of default is that the
Bank has the right to sell the property. Further Mr. Epstein failed to giy_e
Notice `of the Sheriff‘s Sale, failed to have Judge Dovne enter the award
of securig and re_n_LaLid the Writ of Possession Issued by the -`Sheriff
required all tenants to be evicted see SDa34. The security was used to
make repairs to the property and the rents alleged due and owing are
incorrect. Retained Realty also discounted some security owed in the
presence of damages

D'Antonio assumed any debt that was present at that tirne, meaning any filed
Judgments at the time of the dissolution of the corporation so that my sons
would not be responsible for any judgments or debt. Not to include any
future Judgments, The bank accepted 40 payments from M&G Holding but

‘ no Judgment was placed against this entity for fear of verification of a

Novation of the Parties Pa 162a-164a.

LEGAL ARGUMENT
PoiNT 1
FoRECLosURE is CoNTEsTEi)_ AND ACTIONABLE `BY
sTATUTE DuE rro MATERiAL issues oF FACTS
9

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By proofs,submitted in this response, prior submissions, Appellant's
Appendicesl and II, and the redaction IN PART of the transcript submitted
by Mr. Epstein who intentionally with held material issues of facts, the
Foreclosure is not over.
This reply brief provides factual reference to all issues which should
convince this Appellate court of illegal conduct, failure by sitting Judges of
violations of the Rules of Civil Practice and ethical values attempted by the
' Judges to deny Appellant Due Process and Equal Protection.

If the court follows Mr. Epstein's statement, page 12, Point I, Legal
Argument "Therefore, the 0an issues to be heard in this case, and on this
Appeal are those set forth in D'Antonio's original complaint filed in this
M This is opposed by the following facts and Rules of Civil Practice
The Rules allow me to amend a complaint, this Appellant was denied with
out proper or just cause to Amend the Complaint, see Pa 199a- 202a,which
dilutes the Appellants damages and does not allow Justice to prevail. Judge
de La Cruz denied my Amended Complaint, see attached transcript where in
Mr. Epstein redacts the primary proofs of the Foreclosure being reopened
and denied for Stat-ute of Limitation, which is not in accordance with the
Sections of Law _as previously submitted. Mr. Epstein, on behalf'of Retained .
Realty, filed a counterclaim on issues for equity relief which his present
client Retained Realty did not suffer economic loss from. The only caveat in
the Surety Aspect of the Note and_Mortgage is for the bank to sell the

l property. Mr. Epstein does not deny or defend this FACT. Appellant nor the
tenants were permitted to be evicted as the illegal Writ of Possession was
issued for. The Bergen County Sheriff‘s Department violated Due Process
and Equal Protection by allowing the front house tenants to remain in

.1.0

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q possession. No damages would have been sustained if_` the contract were
followed as written. The Bank would have made more money if they granted v
a vacating of the Illegal Sheriffs deed and applied for insurance claim
protection under Errors and Omissions..The Contract documents were never

'countersigned, the Novation occurred due to errors of the accounting
personnel for the Bank by accepting 40 checks from a party not part of the
contract and agreed by all parties in writing. By Operation of Law see Pa
162a-164a, the contract, mortgage and note are invalid. The Bank decided to
stop accepting the checks and refused to issue credits for the earned interest
on the illegally escrowed Real Estate Taxes. The Bank then instituted illegal
foreclosure proceedings and failed to give notice to this Appellant. The
Sheriffs department did not give Notice of the Sheriffs Sale. The deed is
invalid and the Writ of Posses_sion,was issued under false submissions of
Mr. Epstein, wherein he informed Judge Escalla of facts that were obtained
in depositions which reflected issues that were 9 years old and presents

unsupported facts about values of rent with out expert opinion or supporting
- facts Retained Realty has no standing to sue for lost monies, they are not a
party to the contract and the time to attain,a judgment for rent and or security
was at the Foreclosure. The claims were abandoned and are disallowed
under the Doctrines of Equitable Estoppel and Collateral Estoppel.
Retained Realty owes the-appellant $640,000.00 as the assessed value
of the property by the Borough of Allendale is $1,340,000.00 See Justice
Harlan's decision Pa Table of Authorities 21 .That Terrie O' Conner Realty

y and their staff of agents could _not sell the property after 11/2 years caused
Retained Realty to offer the property to Mr. J ian Luo at the price they could
recover from him or $600,000.00. He was an inside buyer that did frequent

1 1

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purchases from the bank for distressed problematic properties held by the
Bank.

Mr. Epstein argues that C-alm development was the foreclosed
property owner and as such'was closed due to the loss of all it assets Mr.
Epstein received a personal judgment against Michael A. D'Antonio for
$11,600.00 in State Court below. Mr. Epstein construes the Agreement
signed after the foreclosure to include judgments not already in place which
was the intent of the document to secure a financial freedom for my children

from any damages Both the towriand the bank had received $200,000.00 of

_ my personal funds for real estate taxes The bank escrowed the tax overages
and did not return the interest or the equity upside pursuant to the assessed
value Mr. Epstein admits on page 14 that'Retained Realty filed for damages
after it acquired title to the property and that could not have been raised in
the Foreclosure Action. Then says that any argument that Retained Realty
was opening the Foreclosure Action to which it was not a party, by seeking
such damages is patently wrong. What action did these alleged damages
occur from, what docket number did the damages arise from, only the
Foreclosure Docket Number. l '

This issue is subject to the submission of the Appellant, which
controlling Law /Statutes' states I have 6 years to reopen Foreclosure,
.Contract, Mortgage issues and 10 years to redeem the property and the
decisions by Judge Cruz and Judge Ostrer REGARDING FORECLOSURE
must be reversed as per the Statutes. see Pa l62a-l 64a.

Mr Epstein has not once responded, opposed or deny this section of
Law. .4

lPOIN'I` II
12 _

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MATERIAL ISSUES OF FACTS ARE PRESENT AND WARBANT A
VACATING OF THE SUMMARY Jli_l_®§MENT (_)RDER
1. No Notice was given to Appellant, or the Named parties in the Note or
Mortgage, or Counsel for the Parties by Mr. Epstein for the Sheriffs Sale.
2. The Bergen County Sheriff’s Office did not give Notice to the Parties or
Counsel of the pending Sheriffs Sale.
3. The Bank stopped accepting payments for the Mortgage after accepting
40 consecutive payments Claiming M&G was not a party to the contract
and they are not permitted to make residential loans to multifarriily
v applications v l _
4. Emigrant Savings filed for Foreclosure not Retained Realty who was not a d
party to the contract. Due to Mr. Epstein informing his clients of a Novation `
being present, Foreclosure was the only resolve '
'5. The Application to the Sheriffs' Department by Emigrant Savings did not
» include the demand for Rent or Security which was a waiver of their claims
6. The Money requested for escrow of taxes and processing of the Sheriffs
Deed and Writ of Possession do not match.
7. Judge Innes became aware of the money collected and issued an Order for
the Bergen County sheriff 10 realm s60,000.00.
8. The Bergen County Sheriff and House Counsel rehise to give access to
complete Public Records to prove if the money was received and if the
money was returned.' _ _ -
9. Mr. Epstein stated that only $47,492.80 was in the order there are two
orders, the second for an additional $13,000.00+- and moreover the taxes
were current Mrr Epstein now admits that on page 30 of his reply brief

Emigrant not Retained Realty was the Foreclosure Plaintiff, thereby
` 13

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proving Retained Realty has no legal right to collect or become a part
of the Equitv Dispute over security and rents.
10. In response to providing evidence to prove liability, a person in .

` possession of a lease with proof of rent paid for 4 years has a protection
from eviction under the Anti Eviction Act. Even if a person has NO lease
eviction can be stopped. Counsel Mark Carter stated that if I show the l

lSheriff‘s Officersa lease and payment history they must stand down this was
also confirmed by Judge Escalla‘s Law clerk. l Judge de La Cruz was the
pre-trial Judge Appellant was entitled to a trial by Jury which was not
granted and the Judge made a Summarv Judgment in the presence of
material issues of fact which are disputed. _

It took several months to. calculate and form a complaint with an
understanding of what happened and who or what entity is responsible The
facts are not supported due to foul play by Emigrant Savings who over
escrowed the Real Estate taxes and made interest with out submitting a
monetary credit to the Appellant or the Sheriff‘s Department for refusing to
give discovery for a proper financial accounting of fees and misplaced
escrow for taxes which were paid in full by the Bank and failure to give

notice of the Sheriffs sale by the Sheriff‘s Department's employees which
deny the coveted Qusai Judicial Protection Mr. Seaman seeks If the
employees commit conspiracyj fraud, obstruction of justice and acceptance
of a bribe, can the Sheriff‘s immunity cover or negate his illegal employees
conduct from granting a just and fair Judgment to this Appellant. The
standard of proofs must hold some form of latitude under the conditions of
eviction especially-when a litigant expects to not be evicted. Plus the
Sheriffs Officers threatened to forcefully remove me if I did not`sign a

14'

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release Mr. Epstein's legal mind is insufficient for reasons that are
elementary.' When a person or an entity institutes a crime but sends
someone else to steal ordamage a person's property, they are just as guilty
as the actor.
ll.In this matter Network Truckpi_g did not sign a contracta
therefore, are they protected under the Independent Contractor Rule. If
a party has no legal privity then the actor is the party who initiated the act
y and therefore Emigrant and Retained Realty are the parties responsible for
the damages If Retained Realty did NOT hire Network Trucking to remove
my possession from a horne Where no eviction was permitted by contract
v(the Note)_ this Appellantwould have had no damages When and if a buyer
purchased the horne the new buyer would have been obligated to honor the
leases and then upon renewal state that there would be no renewal and l
l would have to have moved, but l would not have suffered any damages
' 12. Mr. Epstein and Judge de La Cruz failed to accept and._understand
the Surety aspect of the contract, Emigrant was not allowed to evict the
tenants it was a multifamily property and under there guidelines the Bank
was not permitted to make the Loan. Judge de La Cruz was not aware of this
legal obligation and when presented by me in Court she demanded to know ~
what 1 do for a living to qualify my submission about the Surety Aspect.
13. Ms. Egan insisted that the Sheriff‘s Officers make me leave my
appliances in both houses worth $20,000.00 Ms. Egan TI-IREATENED
AND COERCED ME TO SIGN OR SHE WOULD HAVE THE
SHERIFF'S` OFFICERS THROW ME OFF WITH OUT MY PROPERTY.
Ms. Egan never responded to the Litigation, BY COUNSEL OR IN
PERSON upon asking for Default Judgment Judge de La Cruz denied that .
-1~5

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14. Mr. Epstein submits in part that the release signed by unauthorized ' .
agents of Emigrant/Retained Realty [Network Trucking has no contract with
Emigrant/Retained Realty] wherein a caveat still exists, that sw
(damages, will send a list must be consideredas a cause of action. Plaintiffs
property was to be moved with a duty of care and loaded on the Network
Trucking trucks by the employees of Network Trucking who were acting
without a signed contract thereby exposing them and the initial actor
Retained Realty/ Emigrant Savings What Was the duty of the Bergen
County Sheriffs Dept. during the eviction.

15. Mr. Epstein submits on page 23, that the Surnmary Judgment motion
was devoid of any facts or legal basis to establish Retained Realty's liability,

Retained Realtydid not grant discovery, lMr. Epstein raised an Objection
for the subpoena of Howard Milstein the Owner of Emigrant Savings and
Notice of the Sheriffs Sale.
16. The Sheriffs Officers feel they are entitled to Quasi Judicial protection.
Judge de ha Cruz denied this to Mr. Seaman as no such designation is
present in the act of outrageous conduct by these officers This was fully
briefed in Appellants application before Judge de La Cruz.

15. Mr. Epstein submits on page 32 that equal protection arguments are
equally unavailing and unsupported by the facts Clearly the facts are present
that no notice was given for the Sheriffs sale and that no discovery was
submitted during the lower Court pre-trial matter plus the conduct of the
Sheriffs Department to evict in the presence of protection of the'Anti-
eviction Act. Mr. Epstein does not speak of the due process and equal
protection portion of the Appellants reasons for granting this appeal.

16. Mr. Epstein keeps stating that the decisions were from the Trial Court

16

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and this Appellate Court and that the Foreclosure Action was completed and
NON- Appealable but gives no mention of Appellant's submission of OAL
Title 11 Chapter 15 . Plus it was a pre-trial Court, Appellant never received a `

 

Trial by Jury.
RETAINED REALTY HAs No LEGAL PRM_TY oR 119er
' CLAiMs AND oR JUDGMENT

17. Retained~Realty is not entitled to Judgment on its Counterclaim as they
have no legal privity to any such equity claim. Mr. Epstein in his reply Brief
states on page 30 paragraph 9 of this brief that Emigrant was the
Foreclosure Plaintiff not Retained Realtv. No contract was entered giving
equity control of forgotten and not asked for funds at the time of the
Foreclosure The Foreclosure Judgment was exclusive of rents and security
and are barred by Collateral and Equitable Estoppel and lack of contractual
standing between the'Parties The only contractual remedy between
Emigrant Savings, D'Antonio, -Calm Development and M&G Holding was
the property WAS TQ BE SOL]LI`O SATISFY ANY REMAINING
_DEBT lN THE EVENT OF DEFAULT. NO EVICTION OR
ATTAQHMENT OF ANY OTHER ASSETS OF D'ANTONIO , CALM
D_EVELQPMENT OR M&G WERE PERMISSIBLE . This was a
Commercial Loan and Mr. Epstein refuses to make this distinction and
follows Rules and Law for residential properties He acknowledges this
when he lists the rents of other parties as tenants plus ordered only the
eviction of D'Antonio and no other tenants as the Writ of Possession
required.

17"

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_ `PoiNT Iv _
DEFENDAN;s HAvE FAiLEi) To DENY AND ARE sunch To
` _1;4=5-5L£FECT oF FAILURE To pENY

18. Plaintiff does not believe as a Pro Se Litigant he can say anything he
wants as Mr, Epstein submits lam bound by the same Rules and Statutes as
anyone else involved in a Litigation. A Judge is required to give aid to a Pro
Se Litigant when the issues are a matter of Justice being served and or the
l Litigant is being taken advantage of by an Attorney. This issue is well
presented with facts and documents
19. Rule 4:64-1 No review of Title was made by Emigrant or Retained
,Realty to identify any lien holder nor was notice given to any of the
Defen.dants in the Foreclosure action, up to and including this instap_t
submission,' Emigrant/Retained Realty and or Mr. Epstein have not
responded to any of the illeg§ issues Why Mr. Epstein did not submit the
fatal Sheriffs Department's Notice of Sheriff s Sale to Me, My Attorney or
Corporations involved would then prove his Client's Application. The
Sheriff‘s Department (not Sheriff Saudino) violated my rights and the Rules
of Foreclosure by not giving me the final Notice for the Sheriff‘s sale after 4
’ other notices were given. This leads to the probability of a pr;i_b_e for Captain ~
Edgars to not inform me or my Attorney who had previously adjourned the
sale due to bankruptcy protection. Further Mr Epstein paid the fee for the
_Sheriff‘s Sale and the Writ of Possession ( which does not hold an original
signature of Sheriff Saudino).
20. Mr. Epstein paid about 81,500.00 in Foreclosure and Writ of Possession
fees plus Judge Innes signed two orders requiring the Sheriff‘s Dept. (Not
18

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Sheriff Saudino) to return the $47',000.00+- plus an additional $13,000.00.

' 21. Upon access to public records being inade, the House Counsel of the
Bergen County Sheriff refused to answer my requests for the check register
and deposit registers Capt. Kolich states that Mr. Epstein never submitted
these funds One must consider why Judge Innes signed an Order where

y funds do not exist. Or in the alternative did someone else take a rubber
stamp and create these Orders and make these orders to cover up the money
being kept by the Sheriffs Dept for the illegal eviction. These documents
have already been submitted pages Pa 359a to 377a.

22. Mr. Epstein Certifies on page 29 of his reply Brief that Appellant does
riot support these issues by any evidence when all these facts are submitted
in Plaintiff Appendix and fully briefed to this court

' 23. Appellant further-submits that Mr. Epstein~nor the Sheriffs Department
did not submit the questionable documents as proof to show that they are
incompliance in this Appeal.
l24. Denial of all Appellants Moti'ons are proof of Appellant's legal and
constitutionally protected rights and may include Judge de La Cruz in part
of the Conspiracy, Obstruction of Justice and Bribery, as evidenced by the
Appellants District Court Matter.

25 . Appellant holds that Mr. Epstein and the Sheriffs Department
employees and not the Sheriff Mr. Saudino colluded to commit violations of
the Rules of Foreclosure and Mr. Epstein nor the Sheriffs Department
simply have not included the required Documents in the instant reply brief.

‘ 26. Judge Paul Innes is a Judge but the submissions by Appellant were
meant to present that it is possible for the Sheriff s Employees to make up
documents as if signed by Judge Innes. Mr. Epstein nor the Sheri-ff's

' 1`9

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Department and Attorney Mr. lSeaman have submitted the proofs necessary
to exonerate the accusations of Appellant. The Appellant submits conspiracy
theories and submits_facts but most compelling is the fact that all employees
of the Sheriff' s Department and Network Trucking are no longer
employed and all emp loyee records are sealed and denied to Plaintiff in

' discover_'y. y l l
27. Plaintiff should not have to defend arguments by Counsels for not doing
more than filing one Motion to compel. Plaintiff filed for Surnmary
Judgment in response to lack of D_iscovery. Plaintiff is NOT compelled to
take any other method for suppression of the Defendants future pleadings or
lack of proper legal actions Without discovery the facts and or evidence
can not be proven. The merits of this case'were that Appellant was NOT
legally evicted, nor were his possessions handled with the duty of care and
the Appellant did not consider being taken advantage by the Bergen County
Sheriff officers for coercion fraud and deception of the taking of Appellant's
personal property, '

` 29. Mr. Epstein submission on page 30 is misplaced and the Judge did not
convey the proper sequence of events Plaintiff filed the Surnmary Judgment
after the Defendants time had lapsed to respond to Discovery thereby
granting the right to file Surnmary Judgment for failure to comply with the

,Rules of Civil Practice and the opportunity for the Defendants to answer and
submit discovery to deny the facts of the Appellant. Appellant relies upon
R.4:5-5 Effect of Failure to Deny which constitutes an admission

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REPLY BRIEF TO BERGEN COUNTY SHERIFF DEPARTMENT

1. Appellant did not sue the Bergen County Sheriff Michael Saudino.
2. As of right all Police Chiefs, County Chiefs and State Police Chiefs do not
share an immunity from wrong doing :

a) Outrageous Conduct

b) Intentional Tort

c) Intentional Criminal Behavior

d) Total disregard for the Oath of the Office

_e) Mr. Seaman seeks new issues about Qusai Immunity
3.In this Matter, Appellant did not at any time raise charges or issues against
Michael Saudino Bergen County Sheriff. ,
It is totally in violation of all ethical considerations to not hold Mr. Seaman
Esq. in proper form by his submission as to requesting a dismissal based
upon the entire matter being entitled to Quasi-Judicial Immunity for its
actions in executing the Writ of Possession. All references submitted by Mr.
Seaman are aimed at the Sheriff when clearly Appellant states it was the
Officers Judge de La Cruz clearly denied Mr. Seaman's request as she
indicated the Sheriff and its Officers are not members of the Judiciary. Mr.
Seaman presents his argument in'the singular form of only the Sheriff being
the "Actor' and none of the Officers are mentioned.

4.Mr. Seaman presents Imbler v Pachtman 424 U.S. 409 43 7-440 984,
998-99 47 L. ed.2d 128 (1976) WHICH CNLY RELATES TO
PROSECUTORS, not Sheriff‘s or Officers of the Sheriff Dept. He further
states a matter in Pennsylvania wherein the Prothonotary was immune for
not filing papers However, in this case niether cite resembles the causation

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of actions relative to the instant matter. This is a State Court Appeal and the
mention of a PA case is Not a federal case relative to the Federal Case
which connects all Parties so named in Appellants Federal Matter. Mr.
Seaman does not respond to the allegations in any form or presents legal
arguments to the cite precedents as submitted by Appellant such as V__el_egl

5.Mr. Seaman's additional submissions do not cancel the facts in this
case, further more, had Mr. Seaman submitted all the missing documents in
discovery than Appellant would view the matter in a different light. Here
Mr. Seaman denied discovery, and distracts the Court to conceal the
conduct of the officers and in some form of legal semblance justify the
actions of his client for evicting the Appellant to be granted immunity and
the Appellant receives nothing.

In addition Mr. Seaman suggests that due to precedents which do
NOT relate to the instant 'case, he seeks immunity for the Appellants
possession being -stolen, his gun being taken by Sargent Braney and yes it
was returned 2 days later, but the court must know that being denied medical
attention and the use of a bathroom and denial of protection under the anti
eviction act is totally punitive and beyond the granting of Mr. Seaman's
present submission

6.Mr. Seaman refuses to defend or respond to Appellants submission
of Harlow v Fitzgerald,457 U.S. 800, 102 S. Ct. 2727, 73 L. Ed. 2d 396
(1982) Under Harlow, bare allegations of malice are not'sufficient to subject
a public employee to broad reaching discovery or trial. The Supreme Court
sought to avoid the disruption of effective government cause by litigation
thorough resolution on Summary Judgment. lt held, therefore, that public
official is immune from liability unless ho or she violated a clearly

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established law of which a reasonable person would have known, 457 U.S.
at 817-818, 102 S. Ct. at 2737-38.
The Sheriff's Officers were aware of the anti-eviction act, the eviction took
place at 10:05 AM'may 14, 2014 The(Stated that under Orders of Captl
Edgars "under no certain circumstances is D'Antonio to NOT be evicted"
Further, the Sheriff‘s Officers and PQS.Egan coerced D'Antonio into signing
the abandonment agreement or be thrown off with out his personal property,
Upon signing of the abandonment agreement Plaintiff was promptly thrown
off the premises"

7.In light of Harlow and its Progeny, Anderson v Creighton, 483 US.
635, 107 S. Ct. 3034 97 L. ed. 2d 523(1987), the test becomes whether a
public employee would have reasonably believed that his or her **884
actions were lawful in light of clearly established law [Anti-eviction Act].
[Abandonment of Personal Property] Anderson supra 107 S. Ct. at 3040.
The Law violated must be sufficiently clear that a reasonable public
employee would'understand that what he or she is doing.

9.As the Court explained in Mitchell v Forsyth, 472 U.S. 511, 1055
S. Ct. 2806, 86 L. ed. 2d 411 (1985) under the "objective good faith" test of
qualified immunity, the entitlement is an immunity hom suit rather than a
mere defense to liability: and like an absolute immunity, it is lost if a case is
erroneously permitted to go to trial. In the instant matter good faith has not
been sustained based on the Judiciary violating this appellants protected
Civil Rights in light of the non actions under those Civil Rights. Appellant
sustained physical injury from improper conduct and lack of objective good
faith. Equally responsible are those Officers of the Sheriffs department who
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must be terrninated. [ The preceding narrative was submitted 9-22-2016 in a
Motion before Judge de LA Cruz.' The Bergen County Sheriff Michael
Saudino saw to the termination retirement or reassignment of all personnel
connected with this eviction]

10. In Brill v Guardian Life Ins Co of America 142 N.J. 520 (1995)
Appellant submits the fact that no party has answered the discovery requests,
Defendant Bergen County Sheriff‘s department send a second Notice to
Produce Which Appellant complied With but Mr. Seaman failed to
acknowledge same in writing. This brief may not be denied based on the
possibility that discovery may establish the requisite claim: rather, the legal
requisites for Plaintiffs claims must be apparent from the complaint itself.
NJ Sports Prods. Inc. supra, 405 N.J. Super. at 178, 963 A 2d 890 quoting
`Edwards v prudential Pre. & gas Ce. 357 N.J.' super 196, 202, 814 A 2d
1115 (App Dic) cert. denied 176 N.J. 278,822 A. 2d 608 (2003)

ll.Mr. Seaman seeks immunity after Judge Escalla used documents
submitted by Mr. Epstein that were 9 years old to deny staying of the
eviction. The service of the Writ is not what this Appellant is suing about.
The immunity for stealing my possessions allowing my possession for being
stolen, damages and or the coercion by the Sheriff‘s Officers is not allowed
to be immune plus the coercion is a willful act that the Officer knew was not
a reasonable act and therefore immunity should be denied. Further that Mr.
Seaman does not segregate the variables or levels of violations of acts by his
clients but just commingles them and seeks total immunity when none is
warranted

12. The Sheriff‘s allowed the moving company to leave possession in
the garage demand that it be locked so i could not see my possession that

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were not being loaded on the trucks 'l` he coercion of sign or be thrown off
with out all your possessions is not conduct subject to immunity. Mr.
Seaman does not detail the merits and facts for a basis of immunity and
therefore must be denied.

13. Mr. Seaman did not include this in his Surnmary Judgment motion. nor
amend same after disclosure of Appellants submission of same before Judge
de La Cruz.

14. Quashing the Writ or continuing to serve the Writ are not the basis of
claims as stated above

15. Outrageous Conduct is denial of medical attention and the need to use'
the bathroom. Further, they allowed Appellant to remove a light fixture and
maj or electric tool but not $20,000.00 worth of appliances of which Ms.l
Egan further coerced me to sign or be thrown off the property with out my
possessions

16. Outrageous Conduct is allowing a realtor in the premises before the
completion of the eviction and allowing the realtor to "Dictate" terms to the
_Sheriff‘s Officers.as to which possession stay and which can be removed.
17. Claims were not dismissed due to Tort Claim Protection, the Notice of
Tort Claim was made properly within the requirements of the law. and were
further not required due to the scope and amount of destruction caused by
the Sheriff‘s Officer and the finding of Outrageous Conduct.

18. as to the amount of claim Plaintiff could not determine same due to the
damages and what was actually stolen plaintiff want the property return and
the Sheriff could have assisted the appellant in the location of the property
and who cleaned it out and, who took some of the wood, tools, trains and
machines

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19. Mr. Seaman is unethical to submit the Tort Claim notice and misstating
or making an invalid interpretation subject to his opinion. Mr. Seaman does
include this Notice in his Appendix at SDa48

20. Page 20 Mr. Seaman States " to obtain that remedy plaintiff is required
to show he had: (a) complied with either R. 1:6-2 (c) (1) by personally
conferring with counsel for the Sheriff about outstanding discovery, At
SDa20 Mr. Seaman submits Appellant's Certif`ication to resolve issues prior
to Surnmary Judgment. Therefore Mr. Seaman is incorrect and deceives the
Court again about facts wherefore Appellant respectfully request denial of
Defendants Motion, Brief and supporting documents and grants Appellants

application to reverse the lower Couits decision.

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REPLY BRIEF TQ NE'LWORK TRUCKING

1. Appellant was coerced to sign all documents regarding the eviction and ’
the abandonment_of property and the condition of the property.
2. Appellant signed the paper for Network Trucking and stated some
damages will send list.

3. The agreement states that I would not bring suit. However they never
offered to make restitution as verbally agreed to.

4. Discovery proves that no contract exists between Retained Realty
Emigrant Savings and or the Sheriff‘s department with Network trucking.

5. They are not entitled to subcontractor protection.

6. The trucks were not lettered or any identification for compliance with
DOT regulations

7. The Bergen Sheriff Officers ordered the employees of Network trucking
to stop loading Appellants possessions and locked me out so I

could not retrieve them my self,'they changed all the locks

8. The Owner of network Trucking refused to give the names of the foreman
and or any employees

9. Mr Parmar states that the Network trucking no longer has any foreman
and or employees

10. Appellant request a reversal of the lower Courts decision.

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Michael D'Antonio

 

 

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APPENDIX REPLY BRIEF 07-24-2018

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/"" is warranted in order to rule on the motions ' ».f :_e sp rciiicaliy, the parties should submit

l supplemental briefing detailing as to each related stine court litigation ther (1) status of each case;
(2) case nurnber; (3) j'udge;_ ’_4) procedural costure (5) br efbisrory ofra.ings; and (6) if appealed,
what has transpired lvioreo\'er, the parties she rid en " hess en a coat t-`cy-cc ant basis whether v
Plaintitfs’ claims are barred by any abstendcr~ de er 111-111 ,ludi.rg hci act limited to the Rooker-
Feldman and Younger abstention doctrines 111 se de lhg, the: lanes shots clearly and succinctly
state the factual and legal bases as to why, erwhy_.j._not., the ‘Co"j-r.::rn_u__s:t_ abstain as to each count
Moreover, the parties are riot to merely incoiperate by reference any portion of drcir prior filings .
nor are they to include any novel arguments in these supplemental briefs The pardes’
supplemental briefs are not to exceed ten (10) pages iii length

ORDERED that within thirty (30) days cf this 0nlcr, the parties shall ile` their
supplemental bi'iefs,- not to exceed ten (10) pages 111 length;' acidic is further 1

ORDERED- that the _Clerk shall ADMLST!ULTWELYI`ER`VHNATE l)efeudants’

motions to dismiss (ECF bios. 1.‘73`, 174, 176;1'1"'?§ i’.lh§`,'a's-weli"as"Plaintiii"s"motiorr for default

, judgment (ECF Ne. 1911 pending full briefing ar\é» rsu’c'>mr's.\ii¢éri b;»""'the' parties indicating f`.riat

briefing is complete and film fm gthl'at the motilcnii’lie:rehi.et`§ied§ "`~` "

 

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SUPERIOR COURT OF NEW JERSEY
LAW DIVISION, CIVIL PART
’BERGEN COUNTY, NEW JER$EY
DOCKET NO. BER-L*4562~15
, APP. DIV. NO.

MICHAEL A. D'ANTONIO,

Plaintiff,
TRANSCRIPT
of
MOTIONS HEARING

VS.

RETAINED REALTY, INC.,

vvvvvvvvvv

ET AL.,
Defendants.
Place: Bergen County Superior Court
Justice Center, 10 Main St.
Hackensack, N.J. 07601
~ . Date: September 18, 2015
BEFORE:~

HONORABLE ESTELA M. DE LA CRUZ, J.S.C.

TRANSCRIPT ORDERED BY:

MICHAEL A. D'ANTONIO (P.O. BOX 55, Allendale,
New Jersey 07401)

APPEARANCES:

MICHAEL A. D'ANTONIO, PRO SE
Attorney for the Plaintiff

RICHARD EPSTEIN, ESQ. (Attorney at Law)
Attorney for the Defendant

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I N D E X

Colloquy / Argument:

' _ Page§s)
By Mr. D'Antonio '" 3,-16, 19, 24, 27, 30, 36

WN|-*

ad

BY Mr. Epstein 15, 22, 25, 29, 33

THE COURT: Decisions ` 4 37

Colloquy 40

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~counsel?

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. `THE COURT: 'Good afternoon, everyone, you can
all be seated. All right, next motion on oral argument
involves the complaint filed by Michael A. D'Antonio
against Retained Realty, et al., this is Bergen Docket
Law Division 4562-15. Are you Michael D'Antonio?

MR. D'ANTONIO: Yes I am, Your Honor.

THE COURT: Thank you. `And appearance of

MR. EPSTEIN: Good afternoon, Your Honor,
Richard Epstein appearing for Retained Realty, Inc.

THE COURT:' All right, thank you, you can all
be seated. And I thank again Mr. D'Antonio and counsel
for the situation that occurred on the last motion date
that caused the Court to carry this and you to return,
so thank you for that courtesy at that late hour.

_ Before the Court are four motions, three
filed by Plaintiff, Michael D'Antonio, and one filed by
the defendant; Michael D'Antonio’s motion to compel
discovery filed July 28, 2015, Michael D'Antonio’s
motion to dismiss, Retained Realty's answer or strike
realty -- Retained Realty's answer and compel discovery
filed August‘ll; 2015 and a third motion filed by
plaintiffy self-represented Plaintiff Michael D'Antonio
on August 24 to amend the complaint, I also have
before me Defendant Retained Realty's cross-motion to

 

 

 

 

dismiss filed August 13, 2015.

Now let me start with this question, Mr.
D'Antonio - did you -- in the motion to amend the
complaint did you attach the proposed new amended
complaint?

` MR. D'ANTONIO: Yes, I did.

THE COURT: All right, because honestly I
went through it numerous times and I could not find it,
could not discern what document was the proposed new
pleading. What is the exhibit number? 4

MR1 D’ANTONIO: Do you want me to read it
complaint by complaint, count by count?

' ' THE coURT: No. Did you list it as an
exhibit number or letter?
’ MR. D'ANTONIO: No, I filed it as a separate

THE COURTE You just attached it, right?
MR. D'ANTONIO: No, it was a separate

'fileing. I have it here,_I have a copy of it.

THE COURT: No, maybe you’re not
understanding. I recognize you’re -- you’re
representing yourself so I -- and I -- and you -- I
understand, I recognize you’re doing the best you can.
You filed a motion to amend your complaint on August
24, correct?

 

 

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1 MR. D'ANTONIO: Yes.
2 THE COURT: And 1 have before me the batch of
3 papers that you submitted. All right? 1 cannot find -
4 - maybe it’s in here, but 1 looked at least twice if
5 not three times for the proposed new amended complaint
6 and 1 could not find it. So did you file it in the
7 papers with your motion to amend the complaint as
8 required by the rule? That’s what my question is.
9 MR; D'ANTONIO: ThiS iS it.
10' l . ~THE COURT: ~That’s it? All right. Can my
11 law_clerk go down and get it from Mr. D'Antonio? Let
12 me see;n
13 ' (Pause)

THE COURT: You #- you filed -- along with
the notice of motion to amend the complaint you filed
very other -- various other documents from a prior
.foreclosure that was eventually decided by Judge Peter
Doyne. Correct?

MR. D'ANTONIO: YeS.

THE COURT:- And you in fact attached an
Appellate Division decision, so all of this you
attached. 1 do not see the amended complaint filed
here, in fact the motion for the amended complaint is
dated -- it was filed on August 24. The document that
you say is the new proposed amended complaint is

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'1 stamped filed August llth. So 1 don’t understand how

2 you can have a motion to amend the complaint filed

3 August 24 but then submit the proposed new amended

4 pleading that pre-dates the motion to do it.

5 MR. D'ANTONIO: Jamie B. had a concern about
6 'the form of that amended complaint.

7 THE COURT: Can you move the microphone

8 closer to you?

9 MR. D'ANTONIO: Jamie B. had a --
10 THE COURT: Let me just stop you. Jamie B?
11 Who is that?
12 MR. D'ANTONIO: He’s a clerk in the clerk’s
13 office, he’s one of the --
14 THE COURT: 1 have no idea, maybe you know
15 these people more than 1 do.
16 MR. D!ANTONIO: And he contacted me and said
17 that it would not be received as 1 submitted it and
18 that 1 had to re-file it and pay a fee. So 1 re-typed
19 it, sent it in and paid the fee.
20 THE COURT: .All right. So the point is, when
21, this motion was filed_August 24 you did -- did you or
22 did -- 1 don’t have the amended complaint attached to

,.23 it is my point.

24 , ~ MR. D'ANTONIO: Can 1 submit it to you? 1’1l
25 look at it later and --

 

 

 

‘A_

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1 THE COURT: Well, that's one of the issues

2 before me right now, the motion to amend the complaint

3 which 1 could not find the proposed new amended

4 .complaint attached. And furthermore, it appears that

5 you've attached all of these three documents related to

6 the foreclosure action which Judge Doyne decided and

7 then it went on to the sale, correct? By the sheriffs?

8 MR. D'ANTONIO: Correct.

9 THE COURT: All right. And what's the point
10 of attaching all of that? Because this feels like --
11 reading this 1 feel like 1'm Judge Doyne doing that
12 case all over again.

13 ‘ MR. D'ANTONIO: 1t was a mistrial in that

14 there was no verbatim record made. And Judge Doyne

15 denied me the presence of counsel, Mr. Maycher died.

16 He allowed me to represent myself.

17 THE COURT: Dennis Maycher died, passed away

18 OCtober of 2012; .Judge Doyne decided that case in

19 December of 2012. » .

20 ' MR. D'ANTONIO: And 1 ~- when this case came
. 21 up Judge Doyne did not -- denied me the right to get

22 another`attorney. 1 asked for an adjournment and he

23 allowed me to represent the corporation, plus there was

24 no verbatim record made. '

25 THE COURT: What do you mean there was no

8

1 verbatim record made?

2 ~ MR. D'ANTONIO: He did not turn on the

3 lrecorder and 1 did not know that that's not allowed;

4 that's part of the process of civil process, is having

5 a verbatim record. What was discussed at that meeting

6 was -- `

7 THE COURT: .Sir, sir, sir, on this motion to

8_ amend did you supply er also submit a certification --

9 ' ` MR. D'ANTONIO: Yes. ‘

_ 10 ' - THE COURT: -- explaining your reasons?
11 _ “ MR. D'ANTONIO: Yes.
12 THE COURT: To this motion? l
13 MR. D'ANTONIO:_ 1 feel that 1'm entitled to a
14 mistrial and 1'd like to have the aspects of a novation
15 re-heard. 1 went into detail in explaining the
16 `novation and if 1; you know, want -- if you want me to
17 resubmit it 1'll resubmit it and if you want further
18 explanation 1'll be happy to explain it. 1 have a copy
19 of a draft of the amended complaint and it speaks of
20 what happened in detail, what Judge Doyne did and 1'm
21 seeking to have that re-argued. 1f Mr. Epstein can
22 reopen or Retained Realty can reopen the foreclosure
23 case and sued Calm Development 1 feel that 1 can reopen
24 the case.and go_over the issues that denied me my basic
25 civil rights during a trial. 1 had no record, 1

 

 

 

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1 couldn’t appeal~it, 1 was denied counsel and 1 had no

2 time to present or review the documents.

3 THE COURT: Judge Doyne issued an 8 page

4 decision on December 7, 2012. Did you receive that

5 back in December of 2012?

6 l .MR. D'ANTONIO: That decision did not conform

7 with what was spoken about. During the hearing Judge
‘8 Doyne did not mention the word novation once and 1 have

9 no way to prove it, there’s no record. So if there’s
10 no record it has to be deemed a mistrial.

11 THE COURTE Judge Doyne issued a decision, an
12 order December 7 along with the decision._
13 MR. D'ANTONIO: _Correct.
14 THE COURT: Did you receive those -- that
15 order and the decision?
16 MR. D'ANTONIO: Yes, 1 did.
17 THE COURT: So those were his reasons for
18 entering the order on December 7th? You understood at
19 least that much?
20 MR. D'ANTONIO: YeS.
21 THE COURT: You --
22 - MR. D'ANTONIO: 1 --'1 tried to get an
23 attorney, Mr. Carter, to argue that, Mr. Carter refused
24 to argue that. 1 have no choice but to try to do it
25 myself now.
10

1 THE COURT: What do you mean Mr. Carter

2 refused? Someone declined your request to represent

3 ‘you? ' '

4 MR. D'ANTONIO: Mr. Capazzi was handling the

5 bankruptcy and the foreclosure, Mr. Capazzi decided to

6 do something and was incarcerated, he violated 52 of

7 his clients. My files were taken from me.

8 THE COURT: He ~- 1'm sorry?

9 MR. D'ANTONIO: Mr. Capazzi was arrested for
10 violation of client fund protection. He took 52 -- he
11 took $1.6 million of his clients’ money, including
12 mine, and he took my files. 1 had no way to present
13 any evidence that Mr. Capazzi had sequestered. Dennis
14 Maycher had passed, his files were in disarray. Mr.

15 Carter took over the case and there was a document that
16 was to be filed which he refused to file. We found a
17 way to pay the bank and he refused to submit it. 1 have
18 no choice`but to request that the Court find a
19 mistrial. If the Court has the authority to --

' 20 THE COURT: You mean this Court, me? Enter a
21 mistrial on Judge Doyne --
22 MR. D'ANTONIO: You, yes.
23 THE COURT: -- from 2012?
24 MR. D'ANTONIO: Yes. '
25 THE COURT: Based on what rule or legal

 

 

 

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1 authority can 1 do that and reverse Judge Doyne --
2 MR. D'ANTONIO: Based upon --
3 THE COURT: -~ not to mention this at this
4 point.
5 MR. D'ANTONIO: There was no record made,
6 there was a novation. The discovery that 1'm asking
7 here will prove that they received checks from a
8 foreign entity and under novation, which is a language
9 in the law, Office of Administrative Law, Title 15,
10 Chapter 45, if there’s a foreign party that enters into
11 a contract without the written consent and approval of
12 all parties, by operation of law that contract is
13 automatically discharged.
14 THE COURT: Mr. D' Antonio, Judge Doyne states
15_ in his decision at page 7 from December 7, 2012, in the
16 foreclosure action under Docket F- 47234- 09, Judge Doyne
. 17 held at page 7, ~
18 ‘ “D' Antonio' s current opposition to the final
19 judgment which comes more than two years after granting
20 of summary judgment in this matter is not reasonably
21 timely within the purview of Rule_4:50-2. Defendant
22 has not provided sufficient reason why the instant case
23 `should be further delayed. This foreclosure action has
24 continued for over three years and defendant has
25 already had the opportunity to provide his defense and
12
1 counterclaims which were subsequently stricken by the
12 Court. Defendant merely argues that an adjournment
3 should be granted because his previous counsel has
4 passed away however, there is not sufficient cause to
5' grant defendant’s request, especially considering that
.6 the defendant has had ample opportunity to litigate
7 this_matter, has been represented by counsel when
8 summary judgment was granted. Counsel had failed to
9 oppose the February 2012 application and the defendant
10 has had a reasonable opportunity to obtain new
11 counsel.”
12 - The -- the judge also noted in that decision,
13 recognized in that decision in the very page in
14 footnote one that,
15 “Defendant's prior attorney, Dennis Maycher,
16 Esquire passed way on October 8, 2012. A firm by the
17 name of Bittiger Triolo P.C. is now located at
18 Maycher’s previous office in Garfield, New Jersey. A
19 phone call to the firm revealed that Bittiger Triolo
20 P.C. took over as counsel for some of Maycher’s clients
21 but not for D'Antonio. An attorney at the firm stated
22 the firm has -- was in no position to represent
23 D'Antonio. The extent of Bittiger Triolo’s
24 professional duty to represent D'Antonio is determined
25 herein. Further, at oral argument D'Antonio indicated

 

 

 

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1 for the first time that he has retained counsel,
2, Accordingly, his request for a three month adjournment
3 is problematic. The lawyer who has been apparently
'4 retained has not contacted the Court.”
5 So all of these issues that you’re raising
6 now as having been ignored by Judge Doyne or not ruled
7 correctly were fully addressed in his decision of
8 December 7, 2012. .
9 MR. D'ANTONIO: _Addressed in the letter but
10 `it wasn’t addressed in --
11 THE COURT: 1n this decision and order of
12 December 7th is what 1'm saying. 1 just read from the
13 decision.
14 MR. D'ANTONIO: 1 know that, but that wasn’t
15 what was said. He wrote that after the hearing. 1 had
16 Mr. Capazzi retained, Mr. Capazzi is now incarcerated.
17 There were four adjournments by Mr. Capazzi recognized
18 by the sheriff’s department. Mr. Epstein never made a
19 fifth notice to_Mr. Capazzi or myself and reached the
20 sheriff’s department to grant the deed, the sale of the
21 property, Mr. Epstein did not give us notice of that
22 until the appeal time had passed, We then recognized,
23 because the tenants came and said we’re not paying you
24 rent anymore, Retained Realty is now the owner, 1
25' immediately went to Mrl Capazzi} Mr. Capazzi said they
14
1 can’t do this, Mr. Capazzi filed an appeal with Judge
2 Toskos, Judge Toskos ruled against it because we didn’t
3 have enough documents. So they --
4 THE COURT: Mr. D'Antonio, this decision of
5 Judge Doyne is dated December 7, 2012 and 1 thought a
6 few minutes ago you acknowledged that you had received
7 it sometime in December, by the end of the year 2012,
8 correct?
9 MR. D'ANTONIO: Yes.
10 THE COURT: We’re in September of 2015. Have
11 you filed any appeal on Judge Doyne’s decision.and
12 order of December 7, 2012 before right now?
13 MR; D'ANTONIO: No, we could not because
14' there was no record, you have to have a transcript.
15 4 THE COURT: You have a filed order and a
' 16 decision setting forth the reasons as required by rule
17 for entering that order.
18 MR. D'ANTONIO: According to Mr. Capazzi and
19 Mr. Carter they said that because there was no
20 transcript made you can’t file an appeal.
21 . THE COURT: Okay. Was there any application
22 to the Court to obtain that record or transcript or any
23 appellate application indicating that there would be no
24 transcript submitted because it didn’t exist?
25 MR. D'ANTONIO: 1 did not make that. There -

 

 

 

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1 _
2 THE COURT: Was there any movement on -- on
3 this issue before this motion now to amend the
4 complaint on the issue of Judge Doyne’s December --
5 - MR. D'ANTONIO: There were issues made by Mr.
6 Capazzi and by Mr. Carter before Judge Escala and Judge
7 Toskos, both which were denied.
8 THE COURT: Okay.
9 MR. D'ANTONIO: There was no record, there is
10 ' not record, he didn’t make one.
11_ - ,THE COURT: _Let me hear from -- on this
12 limited issue, because there are four motions, from
, 13 defense counsel, Mr. Epstein. You were -- you were
14 involved in that prior litigation?
15 MR. EPSTEIN: Yes, Your Honor, 1 handled the
16 foreclosure for Emigrant Mortgage Company.
17 THE COURT: Right. Youfre stating the
18 obvious and 1 want to just lay it out.
19 ' MR. EPSTEIN: That is correct.
20 THE COURT: And are you aware of this
21 situation that Plaintiff D'Antonio, Mr. D'Antonio
22 describes as ~~ you know, that there is no transcript
23 or recording of that prior proceeding?
24 MR. EPSTEIN: Your Honor, 1 -- I’ve never
25 heard of that before. He put some indication he wanted
16
1' transcripts from me in some of his discovery requests,
.2 but this is the first time 1'm hearing what that's all
3 about. ~But 1 would indicate one other thing, Your
4 Honor - the novation argument that he’s relying on was
5 disposed of by Judge Doyne on the motion for summary
6 judgment in 2010 when Dennis Maycher was representing
7 Mr. D'Antonio and Calm Development. Specifically 1
8 -believe in page -- at page 16 of Judge Doyne’s summary
9 judgment decision dated December 7th of 2010 and it
10 says six --
11 “Defendant's sixth argument - finally
12 defendants assert that a novation occurred when
13 plaintiff accepted payments from,” et cetera, et
14 cetera.
15 So the novation was disposed of in 2010 when
16 -- when the defendants in the foreclosure were
17 represented by counsel, not in 2012 at this hearing
18 where he’s alleging that no transcript was made. 1
19 just wanted to clarify that for the Court because it’s
20 an important point.
21 MR. D'ANTONIO: May 1 speak?
22 THE COURT: `Yes.
23' _ v ‘MR. D'ANTONIO: There-was a hearing and 1 was
24 denied access, it was held in judge’s chambers. This
' 25 attorney and Mr. Maycher and Judge Doyne had a hearing

 

 

 

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1 without my presence. There was no formal hearing,
2 there was no record made as to what Mr. Epstein just
3 testified to. My attorney came out and Said the judge
4 doesn’t buy your novation argument and 1 said 1 wanted
5 to go through the trial. Under Rule 4:50 at any time 1
6 `have the right to bring new evidence to sustain that
7 something should be changed.
8 THE COURT: Sir, what language in Rule 4:50
9 says you can bring an application at any time?
10 MR. D'ANTONIO: 1 don’t have the rule with
11 me, 1 believe in the presence of new evidence. 1f
12 there’s no transcript made, and 1 requested that in
13 discovery because if he has the transcript, if he knows
14 there’s a transcript, he made transcripts of every
15 other proceeding, so 1 asked for that in this discovery
16 and he refused to give it to me. So if there’s no
17 discovery that means there was no formal
18 (indiscernible) and that's constitutionally
19 (indiscernible), l
20 THE COURT: Mr. Epstein, that 2010 decision
21' from Judge Doyne, what exhibit is this in this mass
22 array of papers submitted?

' 23 … MR. EPSTEIN: 1 filed a certification, Your
24 Honor, dated September lOth and attached -- it’s near
25 the -- near the end, there‘s a 16 page decision by

18

1 Judge Doyne, it’s actually an 18 page decision by Judge
2 Doyne, it’s September 8th of 2010. Would Your Honor

3 like to see my copy of it?

4 THE COURT: No, 1 have it, thank you.

5 MR. EPSTEIN: Your Honor, 1 have no idea what
6 Mr. D'Antonio is talking about, that 1 have transcripts
7 of proceedings. The only transcript 1 have is of a

8 deposition which 1 had gotten. 1 have no transcripts

9 of any other proceedings. And 1 would also indicate to
10- Your Honor that although my memory is not as great as
11 it used to be, 1 believe, and 1 am certain that the

~ 12 motion for summary judgment was argued before Judge
13 Doyne with Mr. Maycher in attendance and myself in open
14 court, not in some chambers.

15 THE COURT: Well, Judge Doyne’s order of

16 September 8, 2010, which is --

17 . t MR. EPSTEIN: That’s the order granting

18 summary judgment.

19 THE COURT: Which is attached to your papers
20 and certification, Mr. Epstein, dated September 10,

21 2015. Judge Doyne’s order dated September 8, 2010

22 indicates that in the introductory paragraph of that
23 order that,

24 “1t appearing to the Court that due notice of
25 the motion having been given to said defendants and all

 

 

 

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1 counsel of record and oral argument having been
2 conducted and the Cour t. having considered the matter,”
3 -- then he went on to enter the order.
4 MR. EPSTEIN: That’s correct.
5 THE COURT: Were you present when -- or --
6 and -- actually-you were.
7, .MR. EPSTEIN;¢ YeS. 1
8 ` THE COURT: 1t’s your form of order that
. '9 Judge Doyne signed?
10 ” MR. EPSTEIN: Yes, that was -- that was the
11 oral argument of the motion for summary judgment with
12 Mr. Maycher in attendance. Mr. Maycher filed
13 opposition papers, he raised the issue of novation and
14 on page 16 Judge Doyne rejected that argument.
15 ' THE COURT: Last word on this, Mr. D'Antonio?
16 Go ahead.
17 MR. D'ANTONIO: Could we have a continuance
18 on this one issue and 1 will apply to the transcription
19 office --
20 THE COURT: Just one second. What do you
21 mean by can we have a continuance?
22 MR. D'ANTONIO: Could we not decide the
23 amended complaint motion now and 1'll ask
24 transcription to give us a copy of that transcript of
25 that hearing and see if there’s one that can be made.
20
1 If there’s no transcript 1 didn’t have --
2 THE COURT: Well, let me ask you again, from
3 the 2010 decision Judge Doyne, based on that, and he
4 'entered a 2012 decision on the foreclosure, he
5 referenced the summary judgment having been granted on
6 September 8, 2010 and he mentioned in his 2012 decision
7 on the foreclosure matter that there was no appeal or
8 no -- there was no -- the -- the decision of -- on
9 summary judgment entered on September 8, 2012 had not
10 been appealed or modified in any way.
11 MR. D'ANTONIO: Judge Doyne --
12 _ THE COURT: So what -- what -- what would it
13 serve to get transcripts or find out that there weren’ t
14 transcripts?
15 MR. D'ANTONIO: Judge Doyne was Judge
16 Maycher’s law clerk. Judge Doyne took Mr. Maycher and
17 Mr. Epstein and there was no formal hearing as to that
18 aspect. There has to be a --
19' . 'THE COURT: 'What are you insinuating? That
20 Mr..Maycher, may he rest in peace, was Judge Doyne’s
' 21 law clerk?
22 ` MR. D'ANTON10: That’s the relationship that
23 they had and when he came out there was no hearing,
24 there was no trial, there was no record, 1'm entitled
25 to that.

 

 

 

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21
1 . THE COURT: But Mr. Maycher was your
2 attorney.
3 MR. D'ANTONIO: Correct.
4 THE COURT:- Did you go away? Did you walk
5 away? Did you leave court with Mr. Maycher and follow
6 his direction until the day he died? '
7 MR. D'ANTONIO: No. There was a discord and
8 he explained to me what do you want me to do, that's
9 the judge’s ruling. 1 said we didn’t have a hearing
10 and he was in the process, we spoke about it, certain
11 things happened and it got put aside. The chronology,
12 the timing and so on 1 don’t have in front of me, but
13 Mr. Maycher so to speak laid down on the issue, 1f
14 there was no formal hearing, no trial, no record 1'm
15 entitled to a mistrial and a re-hearing. _
16 _ .THE COURT: .But didn’t Mr. Maycher represent
17 you through 2012 until he died? That appears to be
~ 18 what Judge Doyne is saying in the December 7, 2012
19 decision, indicating that Mr. Maycher died on October
20 8, 2012 and that thereafter the new law firm that took
21 over his practice, Mr. Maycher’s practice, did not
22 continue to represent you. -
23 _ MR. D'ANTONIO: .But 1 didn’t know the rule
24 and 1 found out the rule after.
25 THE COURT: You didn’t know what rule?
22
1 MR. D'ANTONIO: That there has to be a
2 verbatim record. 1f there’s no verbatim record that's
3 a mistrial. And since 1 lost Mr. Maycher and 1 lost
4 Mr. Capazzi and.Mr. Carter refused to do as 1 asked, 1
5_ have to take it upon myself because they’re arguing
6 over facts. Mr. Epstein, how does it hurt his client
'7 if a novation is declared? He gets paid in full, he
8 gets.$815,000, not $600,000 if he’s lucky. So what 1'm
9 asking for is beneficial, it’s a balance of equities in
10 his favor, so there should be no argument. The bank
11 has to have error and omission insurance and it’s an
12 error on their part for taking the checks from a
13 `foreign company. There’s no harm if -- if there is a
14 novation they get paid $215,000 more, there should be
15 no opposition. The fact that there was something done
16 in irregularity, 1'm still willing to pay and they’ll
17 get, you know, -- so 1 don’t understand why there’s
18 opposition, he’s getting paid in full, $200,000 more.
19 THE COURT: Anything else, Mr. Epstein?
20 MR. EPSTEIN: Real quickly, Your Honor. He’s
21 trying to open up the foreclosure action in this case
22 three years after the final judgment was entered, --
23 THE COURT: Just be --
24 MR. EPSTEIN: -- five years after the motion
25 for summary judgment was granted. 1’s absurd,-it’s

 

 

 

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1 absurd because he says there’s no transcripts, there’s

2 nothing proving any -- even if there were any

3- transcripts he’s still well out of time. This is a

4 classic case of a -- of a disgruntled borrower who’s
`5 lost property, unwilling to move on. The bank owns the

6 property, Retained Realty owns the property,

7 foreclosure is over, times to appeal are over and he’s

8 trying to re-litigate the foreclosure case when all

9 these issues have been decided and he’s been
10 ,represented by numerous attorneys throughout the case.
11 There were also two bankruptcy cases where he tried to
12 basically undue the sheriff’s sale, Your Honor, This -
13 - this -- all 1 could say is this is absurd, Your
14 Honor, he’s trying to re-litigate something that was
15 decided years ago.

16 THE COURT: All right. Now what discovery on
17 your first two motions, Mr. D'Antonio, to compel
18 discovery and/or to dismiss the -- or strike the
19 defendant’s answer are still missing --
20 MR. D/ANTONIO: All --
21 ' THE COURT: -- from this litigation?
22 MR. D'ANTONIO: May 1 respond to what he just
23 said? '
24 THE COURT: -No, 1 -- 1 have heard enough
25 about that issue. s
24

1 MR. D'ANTONIO: Okay. All of it. 1 think

2 the interrogatories and requests for the documents, and

3 he states that he will give what he believes is

4 relevant to the case, 1 have objection with that. He

5 doesn’t know the presence of my mind so he can’t state

6 what is relevant and not. He reopened up the

7 foreclosure case and so 1 responded by asking for a

8 mistrial¢ None of the discovery --

9 THE COURT: 1 -- 1 -- 1 did not -- 1 did not
10 -- 1 heard what you said, 1 do not -- do not understand
11 your point. He, meaning Mr. -- Defense Counsel
12 Epstein, reopened the foreclosure case?

13 MR D(ANTONIO: Yes. He filed --
14_ THE COURT: He opened the door you mean?
15 MR. D’ ANTON10: He filed against Calm

_ 16 Development under the foreclosure docket. He filed a
17 third-party complaint seeking $11, OOO, the case is over
18 three years. When you settle you settle. He got the
19 equity, now he wants $11,000 more and he falsifies the
20 amounts of money and is out of time so 1 can do the
21 same thing, He’s suing --
22 ' THE COURT: You”re referring to the Retained
23 Realty's --
24 MR. D'ANTONIO: Retained Realty's --
25 THE COURT: -- third-party complaint against

 

 

 

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1 Calm Development?
2 MR. D'ANTONIO: Correct, that's re-opening
3 the foreclosure.
4 THE COURT: Well how is that re-opening the
5 foreclosure, Mr. D'Antonio?
6 ` MR. D'ANTONIO: The amounts of money would be
7 revenues that were supposed to be collected during the
8 foreclosure.
9 THE COURT: Without giving -- without giving
10 any deep analysis to the defendant third-party`
11 plaintiff’s pleadings 1 can take a wild guess and say
12, that they.brought in Calm Development because the
13 certification of the owner, the president of Retained
. 14 Realty, certifies that Retained Realty hired Calm
15 Development -- one second, one second.
16 MR. EPSTEIN: What (indiscernible) is the --
17 is the -- ' '
18 THE COURT: One second, one second. What is
19 _the purpose for the third-party complaint against Calm
20 Development?
21 MR. EPSTEIN: 1t’s also part of the
22 counterclaim against Mr. D'Antonio, Your Honor, A
23 security deposit that was received by Mr. D'Antonio of
24 Calm Development which was not turned over to us, under
25 statute it has to be. Also, after the sheriff’s sale
26
1, .took place and Retained Realty owned the property Mr.
2 D'Antonio and Calm Development received rents from the
-3 tenant at the property, This is all after the
4 foreclosure action, So we’re seeking the return of the
5 rents that he took improperly that belonged to Retained
6 Realty once we had title to the property and we’re
7 seeking the security deposit which we’re required to
8 return to the tenant. None of those issues could have
9 `been dealt with during the foreclosure because you
10 don’t know who was going to own the property until the
11 sheriff’s sale took place.
12 THE COURT: And just repeat again the claims
13 --
14 MR. EPSTEIN: The security deposit.
15 THE COURT: -- informally against Calm
16 Development.
17 . MR. EPSTEIN: Calm Development was the owner
18 of the property, We’re not sure who received the
19 security deposit, it was either Calm Development or Mr.
20 D'Antonio who was the director of Calm Development. So
21 we brought in Calm Development because if sued -- if we
22 just counterclaim Mr._D'Antonio is going to say it’s a
23 corporation, 1'm not corporation, 1 never got the
24' security deposit, Calm Development did.
25 . . THE COURT: Okay. And what discovery to you

 

 

 

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27
1 say, Mri D'Antonio, is missing? Thank you, Mr.
2 Epstein,
3 MR. EPSTEIN: You’re welcome.
4 MR. D'ANTONIO: All Of it.
5 THE COURT: All of it? d
6 4 MR. D'ANTONIO: 'He hasn’t answered any, he
7 hasn’t produced the photographs. When they evict you
8 they take photographs of your furniture. The first
9 motion is regarding damages, being wrongfully evicted
10 in the presence of the Anti-Eviction Act.
11 Some of the things that he just stated, may 1
12 counter? May 1 speak to that?
13 THE COURT: Counter for what? That he just
14 described the chain the pleadings to explain them as 1
15 had questioned --
16 MR. D'ANTONIO: Okay. He said that Calm
17 Development may have or Mr. D'Antonio may have the
18 security. He.has a copy of the lease, we need to go
19 over it. He sees that it’s a Calm Development lease,
20 Michael D'Antonio doesn’t have the money, he sees that
21' the.Cristians (phonetic) paid no March rent and he’s
22 suing for March rent, he sees that they damaged the
‘ 23 property. And he was given an explanation that that
24 money was used to reopen the bankruptcy, so there is no
25 money, And he states that he didn’t have the
28
1 opportunity to go for it in the foreclosure. When you
2 file for foreclosure you file for the assets that are
3 in the note and part of what's in the note is the
4 assets of Calm Development which would be the security.
5 When you take over someone’s rental position
6 if you take over the asset of the lease the security
7 should be requested; he didn’t do it, it’s not in the
8 judge’s order -- Judge Doyne’s order. And the amounts
9 that he’s asking for don’t correlate. When you go to a
10. foreclosure and you get a deed from the sheriff’s
11 department you’re supposed to (indiscernible) notice.
. 12 He purposely delayed so that the appeals process would
13 pass¢ Notice didn’t come. He received the deed
14 December 6th of 2013 and the first notice was March 7,
15 2014 when the tenants came to me with the papers and
16 said you don’t own the house anymore. So the two prior
17 _months that he’s suing for were dissipated, Calm
18 Development paid the bills with it and the tenants paid
19 ~- didn’t pay the bank and the tenants left the
20 following month. So he’s asking for monies that a) 1
21 don’t have, Calm Development is closed, and that the
22 tenants didn’t pay him either.
23 THE COURT: Okay. Mr. Epstein, have you
24 provided any discovery related to the request that
25 plaintiff complains that have -- remain unanswered?

 

 

 

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29
1 _ MR. EPSTEIN: No 1 have not, Your Honor, 1
2 indicated to him that 1 would respond to those issues,
3 to those interrogatories dealing specifically with his
4 claim as to the damage to his personal property on the
5 eviction. His interrogatories wants escrow accounting
6 from the foreclosure, he wanted this transcript, he
7 wanted information as to the listing agreement that we
8' have to sell the property, none of his business,
y9 Retained Realty owns the property. 1 have indicated to
10 him and 1 indicated in my responsive papers 1 have no
11 problem providing discovery relating to the eviction
12 issues vis-a-vis damage to his property, our
13 relationship with Network Trucking, the photos, any
14 photos that are in Network Trucking’s possession, 1
15 'believe 1 received copies/ 1 don’t have a problem with
16 providing those. But it was very clear to me that his
17 interrogatories, and there’s interrogatories, there’s
18 e-mails for requesting information, went far beyond the
19 scope of this very narrow issue of damage to personal
20 property during the eviction. So 1 was not going to
21 just provide that because we’ll be standing before Your
22 Honor in any event dealing with that. 1 have no
23 problem providing it to him in 30 days. 1f however,
24 the complaint is dismissed against Retained Realty
25 under the independent contractor rule then there will
30
1 be no need to provide discovery as to that.
2 THE coURT: okay. '
3 » MR. D'ANTONIO: We would have to discuss what
4 _is the damages and what he feels is relevant. 1n the
5 presence of Judge Escala's order, Judge Escala
6 overrules Judge Harris’s order where 1'm required to
7 have a lease, that was submitted to Your Honor, So he
8 submits a partial transcript to Judge Escala where 1
9 stated no, there is no written lease in two thousand
10 and -- in the year 2000. Ten years later there is a
11 written lease which he has a copy of and he
12 misrepresents to Judge Escala that there is no lease
13 and uses the portion of the transcript which was from
14 2000. So Judge Escala's order violates the Anti-
15 Eviction Act. The sheriff’s department already evicted
16 me at lO:Ol and at 1:30 Mr. Epstein had a telephone
17 conference with the judge and he misrepresented that
18 fact. - - . ~
19. ,THE COURT: .Mr. -- Mr, Dagostino [sicl --
20 D'Antonio, were any of these prior orders ever
. 21 appealed?
22 . “ MR. D'ANTONIO: No.
23 THE COURT: No? All right, then please --
24 please stop talking about things, events, orders, court
25 orders that occurred years ago that you say now were

 

 

 

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1 wrong and 1 should undue.
2 ~ MR. D'ANTONIO: '1t's one year old, Judge --
3 Judge Escala's order.
4 THE COURT: Where is that? IS that in the
5 papers? '
6 MR. D'ANTONIO: Yes it is, and it’s -- 1 seek
7 that -- that portion. Based on the discovery that he’s
8 going to give me, 1 would be able to give the Court a
9 clearer picture.
10 l THE COURT: You seek what? When you say you
11 seek that, 1 --
12 MR. D'ANTONIO: 1 want repossession of the
13 property because he falsified a submission -- a
14 submission to Judge Escala. He told the judge there
15 wasn’t a lease. How do -- 1 mean that issue is one
16 year old. So he falsified his submission to Judge
17' Escala stating that there was no written lease, 1 have
18 a written lease.
' 19 _ THE COURT: Have you appealed Judge Escala's
20 order? '
21 ‘ MR. D'ANTONIO: No, 1 did not.
22 THE COURT: So how -- 1 am not the Appellate
23 Division for Judge Escala. 1f you have a criticism of
24 .a court order you?re fully entitled to file it with the
25 Appellate Division or request reconsideration from that
32
1 very judge, the same judge that entered the -- the
2 order or ruling.
3 MR. D'ANTONIO: 1 couldn’t get my papers in
4 time because 1 asked the sheriff’s department not to
5 touch my office and my bedroom. They took everything
6. and just dumped everything in a box, 1 could not get my
7 possessions until after the period to appeal. They
8 were not to touch it; 1 had no clothing for two months,
9 we couldn’t find anything, so 1 ask the Court some
10 latitude in that. -
11 THE COURTE So two months and this is a year
12 ago that this happened? -
13 _ MR. D'ANTONIO: lNo, no, it was six months
14 that 1 couldn’t -- till 1 got my papers, so 1'm six
15 months past that. But in that he reopens the
16 foreclosure don’t 1 have standing to address the issue
17 before the Court?
18 THE COURT: 1 don’t see that defendant has
19 reopened the foreclosure -- foreclosure -- foreclosure
20 proceeding. 1 do not see that, no.
21 MR. D'ANTONIO: Well, he’s asking for $11,000
22 in fines-which (indiscernible) foreclosure
23 (indiscernible), He says that that doesn’t take place
24 until you know who’s going to own it. Retained Realty
25 is the one who made the process, Retained Realty is the

 

 

 

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1 one that caused the sheriff’s sale to issue a deed when
2 they knew that the property was protected by
3_ bankruptcy. They gave four adjournments for the
4 sheriff’s sale and then Mr. Epstein did not send a
~5 fifth notice to either Mr. Capazzi or myself. So he
6 waited two months after he had possession of the deed
7 to send the notice to the tenants.
8 MR. EPSTEIN: Your Honor, 1'll make it brief.
9 Mark Carter represented Mr. D'Antonio on the order to
10 show cause opposing the eviction. Mr. Carter was
11 'present 1 believe during the oral argument of that on
12 the morning of the decision when Judge Escala denied
13 the application. _
14 There was a lease that was turned over that
15 was presented, it was an eight year lease between Calm
16 Development and Mr. D'Antonio, Mr. D'Antonio was the
17 director of Calm Development, at well below market
18 rent, 1f you look at the first exhibit, the first order
19 attached.to my certification you can see Judge Escala's
20 handwritten -- y ~ ._
21 THE COURT: What certification? Dated?
22 MR. EPSTEIN: My certification dated
23 September lOth, the certification in opposition to
24 plaintiff’s motion to amend.
25 THE COURT: One second.
34
1 MR. EPSTEIN: 1t’s the same certification
2 with Judge Doyne’s summary judgment order, it’s the
3 first order attached after my signature page.
4 THE COURT: All right, 1 have it.
5 MR. EPSTEIN: And it says, this is Judge
6 Escala's handwriting,
7 “Lease offered by defendant is a sham lease
8 made by corporation of which defendant is director to
9 himself. Rent appears to be below market.”
10 So there was a lease present. Mr. Carter was
11 arguing the case for Mr. D'Antonio at the point, at
12 that point. So he was represented by counsel, no
13 appeal was filed from that order, the eviction that
14 morning -- that afternoon.
15 _ 'THE COURT: ~The order itself says he’s pro
16 se.
' 17 MR. D'ANTONIO: Thank you.
18 MR. EPSTEIN: Mark Carter filed paperwork.
19 THE COURT: Well.the order says he’s --
20 D'Antonio is pro se. .
21 MR. EPSTEIN: Okay. 1t may -- maybe Mr.
22 .Carter didn’t show up at the argument then.
23 THE COURT: Well, that doesn’t qualify as
24 someone pro se, that the attorney doesn’t show up.
25 MR. EPSTEIN: Looking at a letter of May 5th

 

 

 

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